Case 2:05-cr-20150-SHI\/|-cgc Document 23 Filed 08/11/05 Page 1 of 2 Page|D 23

D.G.
lN THE UNlTED STATES DlSTR|CT COURT Fl\.ED BW:""

 

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Plaimifr
vs.
cR. No. 05-20150-0
vvlLLlAM vlsoR
Defendant.

 

ORDER ON CONTINUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a change of plea hearing on August 3, 2005. At that time,
counsel for the defendant requested a continuance forthe next report date to allow more
time to review the plea agreement

The Court granted the request and reset the trial date to September 6, 2005 with
a re ort date of Thursda Au ust 25 2005 at 9:00 a.m., in Courtroom 3l 9th F|oor of
the Federal Bui|ding, Memphis, TN.

The period from August 12, 2005 through September16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

|T IS SO ORDERED this § day Of August, 2005.

 

This document entered on the docket sheet in compliance
with nule :~”~ arp-slur 32(0) FnclP on - ’ `5

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:05-CR-20150 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

